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                 Exhibit A
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     SETTLEMENT AGREEMENT AND RELEASE OF WAGE AND HOUR CLAIMS

        This Settlement Agreement and Release of Claims (“Settlement Agreement” or
“Agreement”) is entered into by 27 Biscuits, LLC (“Big Biscuit”) and Deanna Oakes (“Oakes”)
(collectively, the “Parties”) in Oakes et al v. 27 Biscuits, LLC et al, No. 1:22-cv-02395 (the
“Lawsuit”), which was filed in the United States District Court for the District of Kansas (the
“Court”) on or about October 3, 2022, and subsequently amended.

                                           RECITALS

        WHEREAS, Oakes, together with certain other co-plaintiffs (collectively, “Plaintiffs”),
filed the Lawsuit under 29 U.S.C. § 201 of the Fair Labor Standards Act (“FLSA”) and various
state wage and hour laws against Big Biscuit on October 3, 2022;

      WHEREAS, in the Lawsuit, Plaintiffs assert claims that they were not paid the applicable
minimum wage and overtime pursuant to FLSA and other state, and/or common law theories;

       WHEREAS, Big Biscuit denies all claims and material allegations made by Oakes the
Lawsuit, and maintains that it properly paid Plaintiffs, including Oakes, all wages and overtime
owed to her under the FLSA, any potentially applicable state and common law doctrines;

       WHEREAS, the Parties recognize that the outcome in the Lawsuit is uncertain and that
achieving a final result through litigation would incur substantial additional risk, discovery, time,
and expense;

       WHEREAS, Oakes’s counsel investigated and evaluated the facts and law relating to the
claims asserted in the Lawsuit to determine how best to serve the interests of Oakes and believe,
in view of the costs, risks, and delay of continued litigation balanced against the benefits of
settlement, that the settlement as provided in this Settlement Agreement is in the best interests of
Oakes;

      WHEREAS, Oakes and Big Biscuit believe that the settlement provided in this Settlement
Agreement represents a fair, reasonable, and adequate resolution of the Oakes’s claims in the
Lawsuit; and

       WHEREAS, the Parties have agreed to settle this case.

       NOW THEREFORE, the Parties, intending to be legally bound and in consideration of the
mutual covenants and other good and valuable consideration set forth below, agree as follows:

                                         AGREEMENT

1.     No Admission of Liability

       A.      By agreeing to this Settlement Agreement, Big Biscuit admits no liability of any
kind and expressly denies any liability or wrongdoing. The Parties also agree that this Agreement
does not constitute a determination or admission that Oakes’s individual claims have any merit or


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that any group of similarly situated people exist to maintain a collective or class action under the
FLSA, state wage and hour laws, or any related laws.

         B.     The Parties and their counsel agree never to present, reference, or allude to this
Agreement; any discussions, negotiations, or circumstances relating to this Agreement; or the
resolution of the Lawsuit in any forum and for any purpose—including, but not limited to, any
litigation, dispute, arbitration, or other proceeding or matter involving Big Biscuit or any other
Released Parties (as that term is defined in Section 3, below)—except to the extent necessary in
an action brought by Oakes or Big Biscuit to enforce the terms of this Agreement.

2.     Court Approval of Settlement

         A.    Court Approval. The Settlement Agreement is contingent upon Court approval of
this Agreement and dismissal of the Lawsuit with prejudice. Big Biscuit agrees not to oppose
Oakes’s application for fairness approval with the Court, which must be filed by Oakes within 15
business days after full execution of this Agreement. Oakes shall provide a draft of the fairness
submission for Big Biscuit’s review, revision, and approval at least three (3) business days before
filing the same with the Court.

       B.      Cooperation and Mutual Pursuit of Approval. If the Court rejects the Settlement
Agreement in whole or in part in a manner that is not contemplated or accounted for in this
Agreement, the Parties agree to engage in good faith follow-up negotiations with the intent to
resolve any of the Court’s concerns that led to rejection. The Parties agree that if approval is
denied, the Parties will work in good faith to address any deficiencies the Court identifies and seek
Court approval again.

3.     Release of Claims

        Oakes agrees to release any and all FLSA and state law wage and hour claims against Big
Biscuit (including its parent, its and their subsidiaries and affiliates, any other defendants named
at any point in the Lawsuit, and their respective owners, directors, managers, and employees
(together with Big Biscuit, the “Released Parties”)) that arose or could have arisen because of
Oakes’s employment by Big Biscuit as an employee, including (but not limited to) through the
termination of her employment (“Released Claims”). The Parties agree that participation in the
lawsuit or the settlement has no res judicata, claim-splitting, or other claim preclusion effect on
anything other than Released Claims. Oakes is not aware of any claims she may have against Big
Biscuit or any other Released Parties that she did not raise in the Lawsuit.

4.     Covenant Not to Sue

        A.     Oakes agrees not to assert Released Claims by suing or joining suit against Big
Biscuit or any of the other Released Parties in any individual, class, or collective action.

         B.     If Oakes sues Big Biscuit or any other Released Parties in violation of this
Agreement, or if Oakes becomes a collective or class action member in any lawsuit asserting
Released Claims and fails to immediately withdraw from such action upon written notice from Big
Biscuit: (i) Oakes shall be required to pay Big Biscuit’s reasonable attorney fees and other
litigation costs incurred in defending against her suit; or alternatively (ii) Big Biscuit can require
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Oakes to return all but $100.00 of the money and benefits provided to her under this Agreement.
In that event, Big Biscuit shall be excused from any remaining obligations that exist solely because
of this Agreement.

5.     Consideration Paid by Big Biscuit

        A.     In consideration for the entry of the dismissal of the Lawsuit with prejudice, as well
as the Released Claims effected by this Agreement, Big Biscuit agrees to pay Oakes the gross sum
of $6,666.67 (the “Settlement Payment”) to be apportioned as follows:

              i.       $ 2,250.00, minus applicable deductions and withholdings, for alleged
back wages by check made payable to Deanna Oakes. Big Biscuit will issue an IRS Form W-2 to
Oakes reflecting this payment.

             ii.       $2,250.00 for alleged non-wage compensatory damages and other non-
wage monetary recovery or relief by check made payable to Deanna Oakes. Big Biscuit’s receipt
of an IRS Form W-9 completed and executed by Oakes is a condition precedent to this payment.
Big Biscuit will issue an IRS Form 1099 to Oakes reflecting this payment.

          iii.      $2,166.67 for attorney fees and costs, by check made payable to The
Hodgson Law Firm, LLC. Big Biscuit’s receipt of an IRS Form W-9 completed and executed by
The Hodgson Law Firm, LLC is a condition precedent to this payment. Big Biscuit will issue an
IRS Form 1099 to Oakes and to her counsel reflecting this payment.

       B.      Big Biscuit will report the payments above to the IRS as set forth above and
required by law.

        C.       Oakes acknowledges that she has not relied on any statements or representations by
Big Biscuit or its attorneys with respect to the tax treatment of the payments described in this
section. If any taxing body determines that the tax treatment was incorrect and that greater amounts
should have been withheld from any payment above (or any part thereof), Oakes acknowledges
and assumes all responsibility for paying those amounts and any interest and penalties thereon.

6.     Timing of Payment

        Big Biscuit will deliver the Settlement Payment to Oakes’s counsel within fifteen (15) days
after completion of each of the following events: (i) Oakes executes this Settlement Agreement
and provides Big Biscuit with a copy of the executed Agreement and the tax forms described in
Section 5.A; (ii) Oakes files a stipulation of dismissal with prejudice; and (iii) the Court approves
this Agreement, dismisses the case with prejudice, and the judgment entered becomes a final, non-
appealable order.




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7.     Attorneys’ Fees and Costs

        Big Biscuit will not oppose Oakes’s counsel’s request in the fairness application of an
award of attorney fees and costs in the amount set forth in Section 5.A.iii. This Settlement
Agreement is not conditioned, however, upon the Court’s approval of the fees and costs set forth
in Section 5.A.iii and requested in the fairness application.

8.     Continuing Jurisdiction

       The Parties agree to request that the Court retain continuing and exclusive jurisdiction over
enforcing the Settlement Agreement.

9.     Blank Section

       [This section intentionally left blank].

10.    Choice of Law

       The enforcement of this Agreement shall be governed and interpreted by and under the
laws of the State of Kansas whether or not any party is, or may hereafter be, a resident of another
state.

11.    Extensions of Time

        The Parties may, by mutual agreement, agree upon a reasonable extension of time for
deadlines and dates reflected in this Settlement Agreement, without further notice to the Court,
except to the extent prohibited by the Court.

12.    No Waivers, Modifications, or Amendments of the Settlement Agreement

        No waiver, modification or amendment of this Settlement Agreement, whether purportedly
made before or after the Court’s approval of this Agreement, shall be valid or binding unless in
writing, signed by or on behalf of all parties and then only to the extent set forth in such written
waiver, modification or amendment, subject to any required Court approval. Any failure by any
party to insist upon the strict performance by the other party of any of the provisions of this
Agreement shall not be deemed a waiver of any of the other provisions of this Agreement, and
such party, notwithstanding such failure, shall have the right thereafter to insist upon the specific
performance of all of the provisions of this Agreement.

13.    Severability

        This Agreement shall be deemed severable, and the invalidity or unenforceability of any
one or more of its provisions shall not affect the validity or enforceability of any of the other
provisions, except for Section 3 (Release of Claims) and Section 4 (Covenant Not to Sue), which
are material provisions of the Agreement for Big Biscuit, the rejection or breach of which shall
render the Agreement voidable in Big Biscuit’s discretion.



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14.    Entire Agreement

        This Settlement Agreement constitutes the entire agreement of Big Biscuit and Oakes
concerning its subject matter. All prior and contemporaneous negotiations and understandings
between Big Biscuit and Oakes are deemed merged into this Settlement Agreement, with the
exception that this Settlement Agreement shall have no effect on or be affected by any prior
settlement or other agreement entered into between Big Biscuit and Oakes regarding payment for
all or part of any claims released herein.

15.    Counterparts

        This Settlement Agreement shall become effective upon its execution, subject to
subsequent dismissal of the Lawsuit with prejudice. The parties may execute this Settlement
Agreement in counterparts, and execution in counterparts shall have the same force and effect as
if Oakes and Big Biscuit had signed the same instrument. Any signature or e-signature made by
the signing party and transmitted by facsimile, email, or electronic signature (via DocuSign,
SignNow, or similar e-signing service) to execute this Settlement Agreement shall be deemed an
original signature for purposes of this Settlement Agreement and shall bind the signing party.

16.    Corporate Signatories

       Each person executing this Settlement Agreement on behalf of any party hereto warrants
that such person has the authority to do so, subject to applicable court approval. Any person
executing this Settlement Agreement on behalf of a corporate signatory hereby warrants and
promises for the benefit of all parties hereto that such person is duly authorized by such corporation
to execute this Settlement Agreement.

               [Remainder of Page Intentionally Blank; Signature Page Follows]




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